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IN THE UNITED STATES DISTRICT COURT
FILED

United States District Court
Albuquerque, New Mexico

FOR THE DISTRICT OF NEW MEXICO

 

UNITED STATES OF AMERICA, Mitchell R. Elfers
Clerk of Court
Plaintiff,
17-CR-3246 MV
VS. CRIM. NO.
KERON LUCIOUS
Defendant.

CONSENT TO PROCEED BEFORE UNITED STATES MAGISTRATE
JUDGE IN A FELONY CASE

The United States Magistrate Judge has explained to me the nature of the offense(s) with
which I am charged and the maximum possible penalties which might be imposed if I plead
guilty. I have been informed of my right to the assistance of legal counsel and of my right to
plead or go to trial, judgment and sentencing before a United States District Judge.

I HEREBY: Waive (give up) my right to enter my plea before a United States

District Judge and I consent to entering my plea, knowingly and

voluntarily, before a United States Magistrate Judge, who thereafter
will accept my guilty plea and adjudge me guil

  

 

Defendant

Loew EZ

Attorney for Defendant
Date: NK >/ DN
Vi
Before:

United States Magistrate Judge

 
